Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 1 of 13




                EXHIBIT 22
                                 Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 2 of 13




                         Web Data Collection Report
Page Title
Historical Container Activity I Compology Help Center

URL
https://help.compology.com/en/articles/3702735-historical-container-activity

Collection Date
Mon Aug 12 2024 12:17:04 GMT-0400 (Eastern Daylight Time)

IP Address
172.27.0.1

Browser Information
Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/127.0.0.0 Safari/537.36

Digital Signature (SHA256 / PKCS#1v1.5)
737bde878f959a6e6806818cb05fdbb9279bb81fab947059e11fd3458eb410a095c61c299
e07a0316dc41704f7cced00ede4ce8d4cd2aacd8cc123fda5665f821fc61284e51e423271
5670e7c7f13d1a80143558ce06da19592a3260c0d717e774b1016ee97334c0a3d33d2d90e
7b743c1Ode0c3a2ee8dd7d5711fa068ea259d34187a0c5e5abf64b1b77759bd8bde8f3323
ad16c4fa073c6dd77719d4353f3064ac5633bf2033848cc892a087cf686893fdfea822de1
521fba66e24d1c1ae5400b0e0f82fdfa2d13bfff5d8d4e3c25ce042aca1c5d1850e899d77
c914b9Ofecceaca Ocf9da 9e0 b56383515c3853d36602eac598 ba 9f22 bafa42eeca 6a b4ae
be




                                                                                                                  RTS_00335597
                               Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 3 of 13




                                                                Signatures
SCREEN CAPTURE

MHTML
File Name
https-help.compology.com-en-articles-3702735-historical-container-ac-Aug-12-24-12-17-04-GMT-0400-(EDT).mhtml

Hash (SHA256)
a58b36c9e0478af04b30c0b062763094d54fa95c8117a02139ba0d5d2aad1e93

Signature (PKCS#1v1.5)
262b7a302ea79eadf40e42f7b77ec9cb18fbff51e113bb6c44f1789f0242955645704fbe3
db06935f848beaf2f98bad9f6Obfe7938db716d2b3143dea06eb516c673acaa23de2e9b5
c636db9c89f61250ca19b1539788de3ebe2Oda515e6d58664cd8d5f65b2b722b9c74fafb
caa4c70a734955cac027825e7bef4fff647aa2a7c8d605c69287e9babe6a9db3cdf4768b
e5ca87278af4969b09edc621a5733046d4ea78cf4236dd8e392d2edbd908125f4ffd10a1
Oac8e1581d60d93a8ca5228d40c344014f2b634c7e544065f236a9bae08d2d38c9df4f20
b522 5996f34cf478f7ad70b88f671445f3999b436a06870c9fd85e739260ad6f0adf432d5
0f50c4




                                                                                                               RTS_00335598
                                            Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 4 of 13

                                                         Compology Help Center                                                                                            01
                                                                                                                                                                           ; English




                                                           0, Search for articles...




                                                                              At Collections > Compology 101 > Historical Container Activity



                                                                              Historical Container Activity
                                                                              Filter and view historical container data to review past events and trends.

                                                                                       Written by Dana Beck
                                                                              ai Updated over a week ago

                                                                              The Activity page allows you to view all historical posts from your containers' cameras.
                                                                              With this page, you can view historical data for all your containers or filter down to a
                                                                              specific container or service location within a specific date range.


                                                                              To access the Activity page, click 'Activity" in the navigation bar:




                                                                                 fft          INSIGHTS        CONTAINERS        ODD-it!:       ACTIVITY     CUSTOMEPS


                                                                              All posts will load from most recent tc oldest. Each row of the table is a post, which
                                                                              includes:



                                                                               • Date and timestamp
                                                                               • Costume, and service location (if available)
                                                                               • Container #
                                                                               • Empty event flag (when applicable)
                                                                               • Image and fullness %
                                                                               • Contamination Count and cScore of fill cycle at the time of post (if your organization
                                                                                  has contamination detection)




                                                                                                                                                                   Ell
File Name                                                                                                                          URL
https-hel p.compology.com-en-articles-3702735-historica 1-conta in er-a c-Aug-12-24-12-17-04-                                      https://help.compology.com/en/articles/3702735-historical-container-activity
GMT-0400-(EDT)_0.jpg
                                                                                                                                   Timestamp
Hash (SHA256)                                                                                                                      Mon Aug 12 202412:17:04 GMT-0400 (Eastern Daylight Time)
9133ac988a30e8b653c50151266e1f39f5e3f064d03e62928bae269143a79a8a

Signature (PKCS#1v1.5)
114a947ccb1215f7c3e75c40811f8c4Oce184b97b426a67ef4fc5fb0779f584e661da8b3966767990
429dd80c57553dd2dc05dc494e9d4574e7b2a7977c3cf669c18e2b97093df2cb793220829e293f965
7d225aa4ba3382e4ca5a28857dd4c780efd9f607e3e4f82cf26eac0e4b311a7a7cfaa6dab08449b96
d1b941f5535954ebbeaed28db6b86ccfedfb14e3e63d86d37f3271e4a0a926a8054873c786cc73752
f52ce24b20c0a79025f18389bdc3ab7ab14c6d157fefa576f4630ad3f0e38a0b408e040ab622e8d5e2
2b3ad0a4ab47838056b770f2a99c11741451f992bfc76f0b6acf325a0ccb995a977b7e03ab3577a0e4
17cd291d3da2f36f1c2b6d0a




                                                                                                                                                                                                                  RTS_00335599
                                               Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 5 of 13
                                                                              includes.



                                                                               • Date and timestarnp
                                                                               • Customer and service location (if available)
                                                                               • Container #
                                                                               • Empty event flag (when applicable)
                                                                               • Image and fullness %
                                                                               • Contamination Count and eScore of fill cycle at the time of post (if your organization
                                                                                   has contamination detection)




                                                                              If the post represents an empty event, you will see a green check mark followed by the
                                                                              fullness at the time of the empty event. If your organization is enrolled in contamination
                                                                              detection, the contamination count and C-Score at the time of the empty event will also
                                                                              be displayed.


                                                                              To apply Filters, click on the filter button in the upper left corner of the screen:




                                                                              You can user filters to narrow your search to a specific container, service location, or date
                                                                              range:




                                                                                                                            .STIVITY       CUSTOMERS



                                                                                Filters

                                                                                SERNICE10.1101.1                                 Date -Most to least recent v



                                                                                                                                  PATE T                CUSTOMER
                                                                                conrnmEn

File Name                                                                                                                          URL
https-hel p.co m po logy.co m-en-a rticl es-3702735-histo rical-conta in er-a c-Aug-12-24-12-17-04-                                https://help.compology.com/en/articles/3702735-historical-container-activity
GM T-0400-(EDT)_1.j pg
                                                                                                                                   Timestamp
Hash (SHA256)                                                                                                                      Mon Aug 12 202412:17:04 GMT-0400 (Eastern Daylight Time)
lcc939ab42303999ae70143f14436232b4e37420c197e6a2b6549ece3443d69c

Signature (PKCS#1v1.5)
7818d332b4b1a04e2a2c4f4d79c23e52fc65f25aa37ce3899c2Ofe6971bf04a910613adfbf60554766
e3c4dc507b6eaaef94eaefeaa3c172ee7665982158579bff0f3f8933990f17a8fb026daae3b62fb803
4d848b545560fb85f9bb198e42dfa7b8f398bcaec0e557541c37f0c1a3cf0f5f6d530401025ae817a
f5ec8517d2db5fc9b3cb27d024dc05c3ef2Dd2887e2a0e1c7fc735c008c23bc7bcbb2a7c484e68b23
dc20f2fb7685dd51a0a57c91cea03b11b18350b1717818ea76570d6da b73b6012b540c9864be20a5f
4cc48ba554298e6d93a7046fcb72f9a4fb2ee024bbdba3a17a59e50b2c8c592e800b8ca904a57de6
f2116ee6279199d1f0b03997c




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                                              Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 6 of 13
                                                                                            INSIGHTS    CYNTAINERS      ACTIVITY        CUSTOMERS




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                                                                               SERVICE LOCATION                              Date -Most to least recent




                                                                                                                              DATE 1,                 CUSTOMER
                                                                               CONTAINER



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                                                                                                                                                      (004)
                                                                              Date Range
                                                                               START RATE

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                                                                                                                              APR, 208AT 1:14 PM      (00:3)
                                                                              END DATE

                                                                                None                            a
                                                                                                                              TUESDAY                 Miller Apartment'
                                                                                                                              APRIT,To1BATI,R         (0013)




                                                                                                                              TUESDAY                 Hamel Custom Homes
                                                                                                                              APR   2.18 AT 1;141W    (01)




                                                                                                                              TUESDAY                 AMR Audio
                                                                                                                              APR 1%.011.11.19 PM     ( 0 3)




                                                                                                                              TUESDAY                 White Rock Hospital
                                                                                                                              APR, xn. 01,15PM        (0042)
                                                                                            CLEAR FILTERS



                                                                             You can quickly navigate to the Activity fora specific container from the Containers page:




                                                                             Cr, navigate to the Activity for a specific service location from the Customers page:


File Name                                                                                                                      URL
https-hel p.com po logy.co m-en-a rticles-3702735-histo rical-conta in er-a c-Aug-12-24-12-17-04-                              https://help.compology.com/en/articles/3702735-historical-container-activity
GMT-0400-(EDT)_2.jpg
                                                                                                                               Timestamp
Hash (SHA256)                                                                                                                  Mon Aug 12 202412:17:04 GMT-0400 (Eastern Daylight Time)
61aaec9bd967d67b46f974dbf59112124566bff0033c7b7a61be2430eb7Oad9f

Signature (PKCS#1v1.5)
398829287065b816110f13996b1b7c721a653938d6d9ed0f6a4f0d2af14e74f2c23d42dd0d0aa4ac1
8aad690776ff72c164bf374c7414295695375a2595e1731cd200f802d11db4c901bbbd77409d11e62
7054c336587e4be0b1bae8e5bb1a0f3838357f016a722c783e9de629b6b4c609191f76f6ae63a5f2c
1a5b8110d5925619394dee6619c7188ba307ba56c34b01c95f290aebbb31bad9782dec6ef608ab9ad26
eb63e46777da5a1efc6bfe2a0b26351cc2af08ec734c43e7586e9e27859479855128c452e9cfae252
8feead67fa1f9d5b925c2c86ba0e94595eae4f9dd94cc488fe6140b38c657acdd1608901bf64a5582a
e97b3d4b0091173efcc19cd39




                                                                                                                                                                                                              RTS_00335601
                                               Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 7 of 13




                                                                              Or, navigate to the Activity for a specific service location from the Customers page:




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                                                                               gong RAILROAD AVE
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File Name                                                                                                                         URL
https-hel p.co m po logy.co m-en-a rticl es-3702735-histo rical-conta in er-a c-Aug-12-24-12-17-04-                               https://help.compology.com/en/articles/3702735-historical-container-activity
GMT-0400-(EDT)_3.jpg
                                                                                                                                  Timestamp
Hash (SHA256)                                                                                                                     Mon Aug 12 202412:17:04 GMT-0400 (Eastern Daylight Time)
1573b51109ecb650c4cbc8367bc30a1291d3bb8e97483198a3aceb239498eb53

Signature (PKCS#1v1.5)
7e172816c9f3dc6b5b1fcd141e06d806baa16805a047f0c35ca ba521b5bf08c1c4618cbe40cf646b9
2c3fe8afc8e906560b28e95db97e6961cf191adOOde46af899d9a37aaba3f35945ccd71518a5a062e
86ceaf8e6f42d7fb01657ee27b3b1e14a742b075ab6203679a9fa539afb1063flec678b529ec1569d
c5c100785b6b931bce5edOced2d3111e3fdee10e7fe52eb299b00f90f2d53495e59c2e7513449cea
4c547a5fe9d296540ea0a1Odd2bb4eba78454adOed70b56758c11fb99d4383b64ecaa243b490ca3a
ea2dbd4309a9053f319cd259ce01672b7e6b9021be04f39652ea2c37d15c429c662f50e06c6e9b63
855c778ef10d67121ea67d6692e83




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                                               Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 8 of 13




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File Name                                                                                                             URL
https-hel p.co m po logy.co m-en-a rticl es-3702735-histo rical-conta in er-a c-Aug-12-24-12-17-04-                   https://help.compology.com/en/articles/3702735-historical-container-activity
GMT-0400-(EDT) 4.j pg
                                                                                                                      Timestamp
Hash (SHA256)                                                                                                         Mon Aug 12 202412:17:04 GMT-0400 (Eastern Daylight Time)
2f5c64c2ede5ad10a09665f8f41f55dd7b3758181b34323ee4dd304175ba3a8c

Signature (PKCS#1v1.5)
22060c34adf76879a0449c4465c2dc953a2228f92fc729db56a14509b062cea003bfc17dflpfc44fc69
07bb6c7dc724a5d108150f16ebccdab6cf663d220318c84ee3f22ce7dc68a6fea31d6d6427c4a48a7f
d37d039b2caeb4b67c00d85ceba16881b9aec34c70881ad7fda0f43531c76f77e5c6fad7c070abcad1
f892e64939bfe65f2e2ab938d3f1612dc1439f70cfaed3127a b5e71ad04a65ef183578d682c77d5384
73649cd4268f21d4d7b11c0d3f4Oecb69c932c7a1374f1aa9da6215245627042d8aa4e1ebc1f0c3757
61cfe6bc5aa057f3cd5738a182d8d09edb3b5ec3ab07010a639e4ec36b637ac272fc7c04780102752
7dbc7a0df02207e860df6




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Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 9 of 13




 Comp.:,logy Help Center                                                                                          Vin; English




   Q Search for articles...



                     At Collections , Compology 101 r Historical Container Activity




                     Historical Container Activity
                     Filter and view historical container data to review past events and trends.

                      tri Written by Dana Beck
                              Updated over a week ago



                     The Activity page allows you to view all historical posts from your containers' cameras.
                     With this page, you can view historical data for all your containers or filter down to a
                     specific container or service location within a specific date range.


                     To access the Activity page, click "Activity" in the navigation bar:




                                     INSIGHTS       CONTAINERS         ROUTES         ACTIVITY     CUSTOMERS


                     All posts will load from most recent to oldest. Each row of the table is a post,
                     includes:



                       • ❑ate and tirnestamp
                       • Customer and service location (if available(
                       • Container #
                       • Empty event flag (when applicable)
                       • Image and fullness %
                       • Contamination Count and cScore of fill cycle at the time of post (if your organization

                                                                                                                                 RTS_00335604
Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 10 of 13




                 has contamination detection)




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            lithe post represents an empty event, you will see a green check mark followed by the
            fullness at the time of the empty event. If your organization is enrolled in contamination
            detection, the contamination count and C-Score at the time of the empty event wi l l also
            be displayed.


            To apply Filters, click or the filter button in the upper left corner of tine screen:




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            You can user filters to narrow your search to a specific container, service location, or date
            range:




                0          INSIGHTS      CONTAINERS                ACTIVITY          CUSTOMERS




              Filters
                                                   E1
              SERVICE LOCATION                                         Date - Most to least recent

                                                    0
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              COMTAMIER


                                                                                                            RTS_00335605
Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 11 of 13




                                                              TUESDAY                   Gruson Rooting
                                                              APR 17, Awn AT s:ABAM     (004)
             Date Range
             START DATE

                                                   a          TUESDAY                   Miller Apartments
                                                              APR 17 2015 AT 114 PM     (0013)
             END DATE



                                                              TUESDAY                   Miller Apartments
                                                              APR 17.0108 AT t14 PH     (0013)




                                                              TUESDAY                   Hamel Custom Homes
                                                              APR 17, 2018 AT 1:14 PM   (01)




                                                              TUESDAY                   AMP Audio
                                                              APR 17, 2018 AT 1:14 PM   (03)




                                                              TUESDAY                   White Rock Hospital
                                                              APR 17 zeth AT t15 PM     (0042)
                          CLEAR FILTERS


            You can quickly navigate to the Activity for a specific container from the Containers page:




                               MI.   ROL ND 4E00



            Or, navigate to the Activity for a specific service location from the Customer's page:


                                                                                                              RTS_00335606
Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 12 of 13




                        199IGNITS       CONTAINERS     ACTIVITY   CUSTOMERS




            MCGUIRE & HESTER (003717021)
            9000 RAILROAD AVE
            OAKLAND. CA 94603

            CONTACT MO
            TAVLOR
            9107600584



            3 SeoKe Laotians 0 .



               GALVEZ ROUND ABOWT
               (00)717i040
               TIE Serra Street
               Stanford, Calliforria 94305

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              arta Fr.Torrl Road
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                                                     Did this answer your question?


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                                                      Compology Help Center


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Case 3:23-cv-04804-WHA Document 121-24 Filed 09/25/24 Page 13 of 13




                                                                      RTS_00335608
